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AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                         District District
                                                     __________   of New ofMexico
                                                                            __________

              In the Matter of the Search of                                 )
         (Briefly describe the property to be searched                       )
          or identify the person by name and address)                        )              Case No.   24 MR 334
                      Donny CRAPSE,                                          )
                    YEAR OF BIRTH: 1969                                      )
                                                                             )

    APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
 See Attachment A, incorporated by reference

located in the                                    District of               New Mexico                  , there is now concealed (identify the
person or describe the property to be seized):
 See Attachment B, incorporated by reference.


          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
               
               u evidence of a crime;
               u contraband, fruits of crime, or other items illegally possessed;
                 u property designed for use, intended for use, or used in committing a crime;
                 u a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
             Code Section                                                               Offense Description
        18 U.S.C. § 922(g)(3)                     Unlawful possession of a firearm by a user of or addicted to any controlled
                                                  substance.
          The application is based on these facts:
        See attached affidavit


          
          u Continued on the attached sheet.
           u Delayed notice of        days (give exact ending date if more than 30 days:                                     ) is requested under
             18 U.S.C. § 3103a, the basis of which is set forth on the attached
                                                                              ched sheet.


                                                                                                       Applicant’s
                                                                                                       A
                                                                                                       Ap plicant’ss signature

                                                                                                Elia Viramontes, Special Agent
                                                                                                       Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
   telephonically sworn and electronically signed     (specify reliable electronic means).


Date:      February 21, 2024
                                                                                                         Judge’s signature

City and state: Albuquerque, NM                                                   The Honorable Laura Fashing, U.S. Magistrate Judge
                                                                                                       Printed name and title
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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

IN THE MATTER OF THE SEARCH OF                  Case No. ____________________
DONNY CRAPSE, YEAR OF BIRTH: 1969

                                                Filed Under Seal

                          AFFIDAVIT IN SUPPORT OF
                   AN APPLICATION FOR A SEARCH WARRANT

    I, Elia Viramontes, being first duly sworn, hereby depose and state as follows:

                   INTRODUCTION AND AGENT BACKGROUND

    1.      I make this affidavit in support of an application for a search warrant that would

 authorize the collection of two vials of blood from Donny CRAPSE (hereinafter CRAPSE),

 year of birth 1969. Based on my training, experience, and the facts a set forth in this affidavit,

 I believe there is probable cause that a violation of United States Code Title 18 § 922(g)(3),

 prohibited person in possession of a firearm, was committed by CRAPSE.

    2.      I am a Special Agent with the Federal Bureau of Investigation (FBI) and am

 recognized as a “federal law enforcement officer” within the meaning of Rule 41 of the

 Federal Rules of Criminal Procedure.

    3.      I am a Special Agent with the FBI and have been so employed since April 2021. I

 have been a sworn law enforcement officer for approximately nine years, serving as a police

 officer and special agent. I am currently assigned to the FBI Violent Gang Task Force (VGTF)

 in Albuquerque, New Mexico, where I primarily investigate street and motorcycle gangs, as

 well as violent repeat offenders involved in federal drug and firearm related crimes such as

 racketeering, drug trafficking and firearms violations. Prior to my assignment to VGTF, I was

 assigned to the FBI Violent Crime Task Force (VCTF), where I primarily investigated violent

 offenders, bank robberies, kidnappings, and FBI fugitives. I have gained experience through
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my training at the FBI Academy and my work with experienced agents on the VGTF and

VCTF. I have investigated persons for drug trafficking, firearm offenses, bank robberies,

fugitives, and have drafted and executed numerous search warrants and criminal complaints.

   4.      Over the course of my law enforcement career, I have arrested hundreds of

individuals for crimes ranging from homicides, narcotics violations, robbery, assault and

battery, and other crimes. My investigative experience includes conducting surveillance;

interviewing subjects, targets, and witnesses; writing affidavits for and executing search and

arrest warrants; supervising cooperating sources; and issuing subpoenas.

   5.      The facts in this affidavit come from my training and experience, from records,

documents, and other evidence obtained during this investigation, and information obtained

from other agents and witnesses. This affidavit is intended to show merely that there is

sufficient probable cause for the request warrant and does not set forth all of my knowledge

about this matter.

                                     PROBABLE CAUSE

   6.      The United States, including FBI, is conducting a criminal investigation of the

Bandidos Motorcycle Club (“BMC”) member CRAPSE regarding possible violation of 18

U.S.C. § 922(g)(3).

   7.      On February 20, 2024, Federal Magistrate Judge Laura Fashing issued a search

warrant for evidence, contraband, instrumentalities and/or fruits of violation of the statue listed

above, at 1523 Tierra Verde Loop NW, Los Lunas, New Mexico (hereinafter the Subject

Premises). See 24-MR-332. The entirety of the affidavit in support of that search warrant is

incorporated herein by reference.
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   8.      On February 21, 2024, the FBI Special Weapons and Tactics (SWAT) team

executed the above referenced search warrant on the Subject Premises.

   9.      During the execution of the search warrant, the FBI encountered two subjects

within the premises, identified as CRAPSE and his wife, Jessica Crapse. Both were removed

from the Subject Premises to facilitate the search.

   10.     During their interaction with CRAPSE, FBI agents observed CRAPSE appeared

agitated and exited. Based on my training and experience, and information relayed to me by

agents and other law enforcement officers, these are common behaviors indicative of the use

of stimulants, such as cocaine.

   11.     During the search of the Subject Premises, FBI agents discovered a firearm,

identified as a Glock 43X pistol, 9mm, S/N: BUZU000 in the front bedroom of the Subject

Premises. The gun was located on the floor near the door of the bedroom. In the front

bedroom, agents also located a rolled-up bill of currency with suspected cocaine residue. The

bill was located on a top of the TV stand. The front bedroom is used as a music room and is

very small in size.

   12.     Additionally, during the search of the Subject Premises, FBI agents located an

empty container with suspected cocaine residue in the primary bedroom. The container was

located on top of the nightstand next to CRAPSE’s phone. On the same nightstand there was

a bell buckle with a “1%” on it, and a wallet containing CRAPSE’s driver license.

   13.     The FBI spoke with CRAPSE about his drug use and the firearm. CRAPSE stated

the firearm belong to him. CRAPSE admitted that he is a regular and ongoing drug user, but

denied using drugs today.
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   14.     Based on my training and experience, and information relayed to me by agents and

other law enforcement officers involved in gang investigations, the above referenced firearms

appear to be operational and would have travelled in interstate commerce prior to their

discovery by law enforcement.

   15.     The aforementioned events took place in Valencia County, New Mexico, within the

District of New Mexico.

   16.     Based on my training and experience, and information relayed to me by agents and

other law enforcement officers involved in the gang investigation, I understand that after a

subject consumes cocaine the substance will be detectable in the subject’s blood for a period

of time. As the subject consumes cocaine the level of cocaine will rise as it is absorbed into

the subject’s blood. The rate at which the level rises is called the absorption rate. Likewise,

once cocaine is in a subject’s blood, the subject’s system will metabolize it out of the blood

and the level will drop if no more cocaine is consumed. The rate at which the level lowers is

called the dissipation rate. Since the level of cocaine will dissipate, a blood sample should be

obtained from a subject as soon as possible after a suspected possession of a firearm by a

prohibited person to accurately establish the subject’s cocaine level at the time of possession

of the firearm.

   17.     Based on my training and experience, I know that a licensed phlebotomist has the

capacity to draw blood samples from subjects and to preserve those samples for future

toxicological testing.

   18.     The medically approved procedure used by licensed phlebotomists to draw blood

involves the insertion of a needle into a blood vessel and the removal of a quantity of blood.

This procedure is very commonly used by medical personnel. It is not particularly painful, nor
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does it involved any substantial risk or danger to the subject form whom the sample is being

taken and may be conducted while a subject is restrained.

   19.     Toxicologist can analyze blood samples for presence of cocaine. Analysis of a

blood sample by a toxicologist can provide information about the level of cocaine in a subject’s

blood.

   20.     Information about the level of cocaine in a subject’s blood is directly relevant to

whether he/she is “an unlawful user of or addicted to any controlled substance” within the

meaning of 18 U.S.C. § 922(g)(3).

                              AUTHORIZATION REQUEST

   21.     Based on the forgoing, I request that the Court issue the proposed search warrant,

pursuant to Federal Rule of Criminal Procedure 41 and 18 U.S.C. § 3117, that authorizes

members of the FBI or their authorized representatives, including but not limited to other law

enforcement agents assisting in the above-described investigation, to transport CRAPSE to a

licensed phlebotomist. The transport of CRAPSE to the licensed phlebotomist may several

hours, given the location of the premises. The FBI or other authorized representative will

ensure that the licensed phlebotomist draws two vials of blood from CRAPSE within the

District of New Mexico, within four hours from the issuance of the proposed warrant.

   22.     Since blood draws utilize sharp instruments to extract blood, the subject may be

restrained during the drawing of blood by the phlebotomist to ensure the subject’s safety and

the safety of the phlebotomist.

   23.     This affidavit has been reviewed and approved by Assistant United States Attorney

Joseph Spindle.
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                                                      Respectfully
                                                       espectfully submitted,


                                                      Elia
                                                       lia Viramontes
                                                           Viram
                                                               montes
                                                      Special Agent
                                                      Federal Bureau of Investigation




Subscribed and sworn telephonically and signed electronically on February   21     , 2024.




Honorable Laura Fashing
United States Magistrate Judge
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                                   ATTACHMENT A
                                  Person to be Searched

Person to be searched: DONNY CRAPSE was born in 1969. He currently resides or did reside

at 1523 Tierra Verde Loop NW, Los Lunas, New Mexico. A color photograph of the subject

follows:
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                                       ATTACHMENT B
                                       Items to be seized

Items to be seized: The following material, which constitutes evidence of the commission of a

criminal offense, namely, violations of 18 U.S.C. § 922(g)(3), that being prohibited person in

possession of a firearm:

1.     Members of the FBI or their authorized representatives will, without undue delay,

transport Donny CRAPSE to a licensed phlebotomist, which may take no more than four hours;

2.     The licensed phlebotomist will draw two vials of blood from CRAPSE. CRAPSE may be

restrained during the procedure for his own safety, and the safety of the phlebotomist; and

3.     All persons involved in the drawing of the blood must wear gloves. The phlebotomist

must sanitize CRAPSE’s skin before any draw, and cover the site of the draw afterwards.
